              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 1 of 29



1     ERIN K. RUSSELL (admitted pro hac vice)
      THE RUSSELL FIRM
2     833 W. CHICAGO AVENUE, SUITE 508
      CHICAGO, IL 60642
3     (312) 994-2424
      erin@russellfirmip.com
4     JONATHAN LA PHILLIPS (admitted pro hac vice)
      PHILLIPS & BATHKE, P.C.
5     4541 North Prospect Road
      Peoria Heights, IL 61616
6
      Telephone: (309) 598-2028
7
      Attorneys for Defendants Angelo Papenhoff,
8     Theo Morra, Eray Orçunus, and Adrian Graber

9                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION

11   TAKE-TWO INTERACTIVE SOFTWARE, INC.,               Case No.: 3:21-cv-6831

12                  Plaintiff,

13   vs.                                                ANSWER AND AFFIRMATIVE DEFENSES

14   ANGELO PAPENHOFF, A/K/A APP, AN
     INDIVIDUAL; THEO MORRA, AN INDIVIDUAL;
15   ERAY ORÇUNUS, AN INDIVIDUAL; ADRIAN
     GRABER, AND INDIVIDUAL; DOE 1 A/K/A ASH R.
16   AND ASH 735, AN INDIVIDUAL; AND DOES 2
     THROUGH 10, INCLUSIVE ,
17
                    Defendants.
18
            Defendants Angleo Papenhoff, Theo Morra, Eray Orçunus, and Adrian Graber, by and
19
     through their attorneys, Erin K. Russell of The Russell Firm and Jonathan LA Phillips of Phillips
20

21   & Bathke, P.C., respond to the allegations made against them in Plaintiff’s Complaint as follows:

22

23
                                     PRELIMINARY STATEMENT
24
     1.     Take-Two is among the world’s preeminent publishers of video games and interactive
25
     entertainment products. Among the products published and sold by Take-Two is the Grand Theft
26

27   Auto (“GTA”) series of video games. GTA is one of the most successful and critically acclaimed

28   video game franchises of all time. Take-Two brings this lawsuit to halt the activities of a group of
     ANSWER AND AFFIRMATIVE DEFENSES - 1
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 2 of 29



1    individuals who have sought to unlawfully copy, adapt, and distribute to the public infringing
2
     source code for two classic GTA titles: Grand Theft Auto III (“GTA3”) and Grand Theft Auto:
3
     Vice City (“Vice City”) (collectively, the “Games”), without the authorization or consent of Take-
4
     Two.
5

6           ANSWER: To the extent the allegations of wrongdoing in this paragraph are directed at

7    Defendants they are denied. Defendants do not possess sufficient information to admit or deny the
8
     remaining allegations contained in this paragraph, and on that basis they are denied.
9
     2.     Defendants are part of a group of computer programmers and enthusiasts from around the
10
     world that collectively have worked over the past few years (and in recent months in particular) to
11

12   create and distribute derivative source code for the Games via code “repositories” onwebsites such

13   as GitHub.com. Defendants’ source code projects, known as re3 and reVC, purport to have created
14
     a set of software files (which Defendants claim they “reverse engineered” from theoriginal Game
15
     software) that allow members of the public to play the Games on various hardware devices, but
16
     with so-called “enhancements” and “modifications” added by Defendants. Perhaps most notably,
17

18   Defendants claim that their derivative GTA source code enables players to install and run the

19   Games on multiple game platforms, including those on which the Games never have been released,
20
     such as the PlayStation Vita and Nintendo Switch.
21
            ANSWER: Admitted, except to any legal conclusions or assertions concerning the use of
22
     the term “derivative.” Such conclusions or assertions are legal conclusions to which no response
23

24   is required and to the extent a response is required it is denied.

25   3.     Defendants’ conduct is knowing, willful, and deliberate. Defendants are well aware that
26
     they do not possess the right to copy, adapt, or distribute derivative GTA source code, or the
27
     audiovisual elements of the Games, and that doing so constitutes copyright infringement.
28
     ANSWER AND AFFIRMATIVE DEFENSES - 2
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 3 of 29



1    Defendant Angelo Papenhoff even stated publicly that he was “very much worried” about Take-
2
     Two’s discovery of the re3 and reVC projects. And, when Take-Two attempted to remove
3
     Defendants’ infringing source code from the Internet, at least three Defendants (acting in at least
4
     one instance with other Defendants’ participation and direction) knowingly filed bad faith counter
5

6    notifications that materially misrepresented the legality of their content, apparently claiming that

7    because they allegedly “reverse engineered” the Games’ source code, they somehow cannot be
8
     liable for copyright infringement. Yet while making this claim, Defendants also have bragged that
9
     their derivative versions of the Games are functionally and visually identical to the originals, and
10
     have even suggested they be used for unauthorized “modding purposes.” As such, Defendants’
11

12   software plainly infringes Take-Two’s exclusive rights to copy, adapt, and distribute the Games.

13          ANSWER: Denied.
14
     4.     Defendants’ conduct has caused, and is continuing to cause, irreparable harm toTake-Two.
15
     By copying, adapting, and distributing derivative and original source code for the Games,
16
     Defendants have made the Games fully and freely available to the public, have appropriated a
17

18   market that belongs to Take-Two (namely, the market for modified or handheldversions of the

19   Games), and enabled countless others to now create their own unauthorized, derivative versions
20
     of the Games. Take-Two is entitled to damages, and injunctive and other equitable relief against
21
     Defendants and those working in concert with them.
22
            ANSWER: Denied.
23

24                                            THE PARTIES

25   5.     Take-Two is a corporation duly organized and existing under the laws of the State of
26
     Delaware, with its principal place of business in New York, New York.
27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 3
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 4 of 29



1           ANSWER: Defendants do not possess sufficient information to admit or deny the
2
     allegations contained in this paragraph and on that basis they are denied.
3
     6.     Take-Two is informed and believes, and on that basis alleges, that Defendant Angelo
4
     Papenhoff, a/k/a “aap,” is an individual located in Germany. Papenhoff is a lead developer on the
5

6    software development projects known as “re3” (an acronym for “reverse- engineered GTA3”) and

7    “reVC” (an acronym for “reverse-engineered Vice City”).
8
            ANSWER: Defendant Papenhoff admits that he is located in Germany. Defendant
9
     Papenhoff admits being a developer on re3 and reVC. The remaining allegations contained in this
10
     paragraph are denied, as the term “lead developer” is undefined and open to varying interpretations.
11

12   7.     Take-Two is informed and believes, and on that basis alleges, that Defendant TheoMorra

13   is an individual located in New Zealand. Morra created a “fork” of the re3 and reVC repositories.
14
            ANSWER: Denied.
15
     8.     Take-Two is informed and believes, and on that basis alleges, that Defendant ErayOrçunus
16
     is an individual located in Turkey. Orçunus is a lead developer on the re3 and reVC projects.
17

18          ANSWER: Defendant Orçunus admits being a developer on re3 and reVC. The remaining

19   allegations contained in this paragraph are denied, as the term “lead developer” is undefined and
20
     open to varying interpretations.
21
     9.     Take-Two is informed and believes, and on that basis alleges, that Defendant Adrian
22
     Graber is an individual located in Germany. Graber is the lead developer of derivative software
23

24   code that allows and enables the Games to be played on the Nintendo Switch console.

25          ANSWER: Denied.
26
     10.    Take-Two is informed and believes, and on that basis alleges, that Defendant Doe1, a/k/a
27
     “Ash R.” and “Ash_735” (hereinafter “Ash R.”), is an individual located in the United Kingdom.
28
     ANSWER AND AFFIRMATIVE DEFENSES - 4
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 5 of 29



1    Upon information and belief, Ash R. is a senior member of the re3 and reVC projectsand an active
2
     participant in the development, distribution, and promotion of the derivative sourcecode created
3
     by these projects.
4
            ANSWER: Defendants do not possess sufficient information to admit or deny the
5

6    allegations contained in this paragraph and on that basis they are denied.

7    11.    The true names and capacities, whether individual, corporate, associate, or otherwise, of
8
     the defendants sued herein as Does 2-10, inclusive, are unknown to Take-Two, which has therefore
9
     sued said defendants by such fictitious names. Among these Doe defendants are individuals using
10
     the screen names “Sergeanur,” “Nick007J,” and “Fire-Head.” Take-Two will seek leave to amend
11

12   this complaint to state the true names and capacities of all Doe defendants once said defendants’

13   full identities and capacities are ascertained. Take-Two is informed and believes, and on that basis
14
     alleges, that all defendants sued herein, including the Doe defendants, directly participated in all
15
     or some of the acts set forth in this complaint, and thereforeare liable to Take-Two. (All of the
16
     aforementioned defendants collectively are referred to herein as “Defendants.”)
17

18          ANSWER: To the extent the allegations contained in this paragraph are directed at

19   Defendants Papenhoff, Morra, Orçunus, and Graber they are denied. Defendants do not possess
20
     sufficient information to admit or deny the remaining allegations contained in this paragraph, and
21
     on that basis they are denied.
22
     12.    Take-Two is informed and believes, and on that basis alleges, that at all times mentioned
23

24   in this complaint, each of the Defendants, with the exception of Defendant Morra, was the agent

25   of each of the others and, in doing the things alleged in this complaint, was acting withinthe course
26
     and scope of such agency. To the extent it is determined that Defendant Morra equallyacted as an
27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 5
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 6 of 29



1    agent of the other Defendants, and/or that other Defendants equally acted on behalf of Defendant
2
     Morra, Take-Two will seek leave to amend this complaint to so allege.
3
            ANSWER: Defendants deny that they acted in any manner as agents for one another.
4
                                       JURISDICTION AND VENUE
5

6    13.    This is a civil action seeking damages, injunctive relief, and other equitable relief,under

7    the Copyright Act, 17 U.S.C. § 101 et seq.
8
            ANSWER: Admitted.
9
     14.    This Court has subject matter jurisdiction over Take-Two’s claims for copyright
10
     infringement pursuant to 28 U.S.C. §§ 1331 and 1338(a).
11

12          ANSWER: Denied.

13   15.    Defendants Morra, Orçunus, and Graber have submitted to personal jurisdiction in this
14
     Court because each of them submitted a counter notification pursuant to DMCA 17, U.S.C. §512,
15
     which states “I consent to the jurisdiction of Federal District Court for the judicial district in which
16
     my address is located (if in the United States, otherwise the Northern District of California where
17

18   GitHub is located), and I will accept service of process from the person who provided the DMCA

19   notification or an agent of such person.” Upon information and belief, Defendants Papenhoff and
20
     Ash R. actively participated in, directed, and controlled the preparation and submission of one or
21
     more of these counter notifications purporting to dispute Take-Two’s justified takedown of the
22
     infringing software repositories. On information and belief, Papenhoff and Ash R. also sought and
23

24   received legal assistance in connection with one or more of the counter notifications from

25   individuals residing in this District and/or in the United States. Additionally, Take-Two is
26
     informed and believes, and on that basis alleges, that all of the Defendants are subjectto personal
27
     jurisdiction in this Court because, among other reasons, Defendants (1) distributed their infringing
28
     ANSWER AND AFFIRMATIVE DEFENSES - 6
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 7 of 29



1    content to individuals located in this District or in the United States, (2) interacted with and entered
2
     into contracts with service providers in this District, including platforms such as GitHub, Twitter,
3
     Reddit, and YouTube, for purposes of furthering and promoting the infringing conduct described
4
     herein, including by directly communicating with individuals residing in this District and in the
5

6    United States; and (3) engaged in conduct that they knew or should have knownwould cause harm

7    to Take-Two in this District.
8
            ANSWER: Defendants Morra, Orçunus, and Graber admit that they submitted counter
9
     notices. Defendant Papenhoff denies taking part in the submission of the counter notices.
10
     Defendants deny distributing infringing content to individuals located in this District or in the
11

12   United States and deny entering into contracts with any service provider for the purposes of

13   furthering and promoting any allegedly infringing conduct. Defendants deny any infringing
14
     conduct in this District or in the United States. The remaining allegations contained in this
15
     paragraph are denied.
16
     16.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because this is a judicial
17

18   district in which a substantial part of the events giving rise to the claims occurred, and/orin which

19   Take-Two’s injury was suffered, and the venue where GitHub is located and to which Defendants
20
     have consented to jurisdiction.
21
            ANSWER: Defendants deny that Plaintiff has suffered any injury as alleged in this
22
     Complaint. Defendants who submitted counter notices admit that they have consented to
23

24   jurisdiction in this Court. Defendants admit that GitHub is located in this District. Any remaining

25   allegations contained in this paragraph are denied.
26

27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 7
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 8 of 29



1                               FACTS APPLICABLE TO ALL CLAIMS
2
                                     Take-Two And Grand Theft Auto
3
     17.    Take-Two is the publisher of the enormously popular Grand Theft Auto (“GTA”) series of
4
     video games. GTA, which was developed by Take-Two subsidiary Rockstar Games, is one of the
5

6    most critically acclaimed and commercially successful media franchises in the world. Since the

7    release of the original Grand Theft Auto in 1997, more than 200 million copies of GTAgames have
8
     been sold, and various GTA installments have won numerous awards for their game design and
9
     storylines. Take-Two, with its partners and affiliates, produces, markets, advertises,distributes, and
10
     otherwise exploits the GTA series in numerous countries throughout the world.
11

12          ANSWER: Defendants do not possess sufficient information to admit or deny the

13   allegations contained in this paragraph and on that basis they are denied.
14
     18.    Among the games in the GTA series are the classic titles Grand Theft Auto III (“GTA3”)
15
     and Grand Theft Auto: Vice City (“Vice City”) (collectively the “Games”). First released in 2001
16
     and 2002, respectively, GTA3 and Vice City were extraordinarily influential, andare among the
17

18   first games that provided players with an interactive “open-world,” where players were free to

19   traverse and explore a large-scale, three-dimensional virtual city. In both of the Games, players
20
     are offered the opportunity to undertake a variety of activities or missions in fully realized, living
21
     environments populated with pedestrians, police, buildings, shops, and a variety ofair, land, and
22
     sea vehicles. Both Games received significant critical acclaim, sold more than 30 million copies
23

24   combined, and frequently are included in lists of the greatest video games of all time. The Games,

25   which were re-released in 2011 for updated and new platforms, continue to be available for sale
26
     on Windows PCs, video game consoles such as the Sony PlayStation and Microsoft Xbox, and
27
     certain mobile devices.
28
     ANSWER AND AFFIRMATIVE DEFENSES - 8
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 9 of 29



1            ANSWER: Defendants do not possess sufficient information to admit or deny the
2
     allegations contained in this paragraph and on that basis they are denied.
3
     19.     In order to create the Games’ living virtual worlds, the developers of GTA painstakingly
4
     crafted the large-scale virtual cities depicted in the Games, including streets, buildings, shops and
5

6    business establishments, cars, street signs, parks, computer-controlled and human-controlled

7    characters, and hundreds of other objects, models, and game “assets.” The underlying GTA
8
     software code interacts with all of these assets to generate and create the interactive, dynamic
9
     world that players can explore and enjoy. GTA’s virtual world, and the codethat generates it, is
10
     the product of thousands of hours of work by programmers, artists, designers, software engineers,
11

12   and others.

13           ANSWER: Defendants do not possess sufficient information to admit or deny the
14
     allegations contained in this paragraph and on that basis they are denied
15
     20.     Take-Two is the owner of valid registered copyrights in the Games, including PA1-151-
16
     010 and PA 1-151-011. Take-Two’s exclusive rights in the Games include the rights to reproduce,
17

18   distribute, publicly perform, and adapt the Games, including by creating derivative versions, and

19   versions of the Games that run on new platforms or technologies (sometimes referred to as
20
     “ports.”).
21
             ANSWER: Defendants do not possess sufficient information to admit or deny the
22
     allegations contained in this paragraph and on that basis they are denied
23

24                            Defendants and the Infringing GTA Projects

25   21.     Take-Two is informed and believes, and on that basis alleges, that Defendants areamong
26
     the organizers of the projects known as “re3” and “reVC.” Additionally, Defendants are the
27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 9
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 10 of 29



1    developers of the derivative software code created and distributed as part of the re3 and reVC
2
     projects.
3
            ANSWER: Admitted, except to any legal conclusions or assertions concerning the use of
4
     the term “derivative.” Such conclusions or assertions are legal conclusions to which no response
5

6    is required and to the extent a response is required it is denied.

7    22.    Defendants have stated that the purpose of re3 and reVC is to fully re-create the underlying
8
     software code for the Games, but with certain purported “changes and improvements tothe original
9
     game,” such as compatibility with handheld consoles Nintendo Switch and PlayStation Vita. Take-
10
     Two is informed and believes, and on that basis alleges, that in order to effectuate this purpose,
11

12   Defendants and those working in concert with them created a group of publically available source

13   code “repositories” on the website GitHub.com (a website that enables members of the public to
14
     post, collaborate on, and distribute computer source code) (the “re3 GitHub Repositories”). Over
15
     time, Defendants supplemented, refined, and updated these source code repositories until they had
16
     created and posted a full set of derivative software files for the Games. From GitHub.com, the re3
17

18   GitHub repositories are currently being offered freely to the public.

19          ANSWER: Defendants deny that the re3 GitHub repositories are currently being offered
20
     for free to the public. Defendants admit the remaining allegations contained in this paragraph.
21
     23.    According to Defendants, the re3 GitHub Repositories purportedly contain “the fully
22
     reversed source code for GTA III… and GTA [Vice City].” More specifically, via the re3 GitHub
23

24   Repositories, Defendants are distributing to the public dozens, if not hundreds, of derivative source

25   code files for the Games. These source code files not only contain the derivativesoftware code
26
     that enables the Games to run on a player’s computer, but also contain Take-Two’s original digital
27
     content such as text, character dialog, and certain game assets. Additionally, the re3 GitHub
28
     ANSWER AND AFFIRMATIVE DEFENSES - 10
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 11 of 29



1    Repositories include links to locations where members of the public can download a complete,
2
     installable build of the re3 and reVC software.
3
            ANSWER: Defendants deny that the source code files contain Take-Two’s original digital
4
     content such as text, character dialog, and certain game assets. As to any legal conclusions or
5

6    assertions concerning the use of the term “derivative,” such conclusions or assertions are legal

7    conclusions to which no response is required and to the extent a response is required it is denied.
8
     The remaining allegations contained in this paragraph are admitted.
9
     24.    Take-Two is informed and believes, and on that basis alleges, that by combining the
10
     software contained in the re3 GitHub Repositories (or the compiled, installable build linked toin
11

12   the Repositories) with certain pre-existing assets and artwork from the Games, members of the

13   public will possess, and can play, complete versions of the Games. These derivative versions of
14
     the Games are virtually identical to the original Games in function, appearance, and gameplay,
15
     except for certain variations and modifications added by Defendants. Thus, a player in possession
16
     of Defendants’ derivative version of the Games can experience the exact same sights, sounds, story,
17

18   setting, dialog, and other creative content as they would experience in Take-Two’s original version

19   of the Games.
20
            ANSWER: Admitted, except to any legal conclusions or assertions concerning the use of
21
     the term “derivative.” Such conclusions or assertions are legal conclusions to which no response
22
     is required and to the extent a response is required it is denied.
23

24   25.    Take-Two is further informed and believes, and on that basis alleges, that in addition to

25   creating, providing, and populating the re3 GitHub Repositories, Defendants, including at
26
     minimum Defendants Papenhoff, Ash R., Orçunus, and Graber, maintain and foster a community
27
     of developers and users of the derivative source code via social media websites and apps, including
28
     ANSWER AND AFFIRMATIVE DEFENSES - 11
               Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 12 of 29



1    a so-called “server” on the U.S.-based Discord group-chatting platform with approximately 1,000
2
     listed members. Via their dedicated Discord channel, Defendants offer technical support, tips,
3
     encouragement, and other advice about the re3 and reVC projects, coordinate their activities
4
     relating to the creating and promoting of these projects, and strategize concerning the legal
5

6    consequences of these activities, including the actions taken or expected to betaken by Take-Two.

7    Upon information and belief, Defendant Papenhoff is the official “server owner” of this Discord
8
     channel and has personally made more than 5,000 postings, while Defendants Ash R. and Orçunus
9
     have each contributed more than 2,000 postings.
10
              ANSWER: Defendants object to the compound nature of this paragraph which includes
11

12   multiple allegations in a single paragraph. Such compound pleading is confusing, rendering the

13   ability to answer clearly impossible. Defendants cannot answer this paragraph as drafted and
14
     therefore must deny the allegations to prevent any misunderstanding or unintentional admissions.1
15
     26.      Defendants have been public about their intent to create and distribute their own pirated
16
     version of the Games, and have used social media and the press to promote the infringing projects’
17

18   visibility as well as to recruit users and developers. For example, on or about February 12, 2021,

19   Defendant Ash R. posted links to the re3 and reVC GitHub repositories to his personal account on
20
     the U.S.-based social media platform Twitter, announcing to his hundreds of followers(including,
21
     on information and belief, ones he knew to reside in the United States) that both GTA3and Vice
22

23

24

25

26
                       1
                         There are various compound paragraphs in the Complaint that are similarly impossible to
27   accurately answer. Rather than state objections repeatedly, Defendants will simply state they cannot answer the
     paragraph as drafted. Given the compound and confusing pleadings, unless an allegation is specifically admitted, it
28   should be denied.
     ANSWER AND AFFIRMATIVE DEFENSES - 12
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 13 of 29



1    City had “been FULLY reverse engineered!”2 Soon after, Ash R. followed up his announcements
2
     with another Twitter post offering a hyperlinked “invite” to the group’s Discord channel in order
3
     to solicit “help” with the projects, and communicated directly in response with one or more
4
     individuals who, upon information and belief, reside in the United States.3 Upon information and
5

6    belief, including as a result of these activities, the re3 GitHub Repositories received more than

7    3,800 “stars” from users as of February 18, 2021, including from users in theUnited States.
8
             ANSWER: Defendants cannot answer this paragraph as drafted and therefore must deny
9
     the allegations to prevent any misunderstanding or unintentional admissions. Insofar as the
10
     allegations concern a non-responding defendant, Defendants are without sufficient information or
11

12   belief to respond to the allegations and must deny the same.

13   27.     Upon information and belief, Defendants Papenhoff, Ash R., and Orçunus coordinated
14
     such public statements to garner maximum attention for the re3 and reVC projects both globally
15
     and within the United States. For example, on or about February 13, 2021, Defendant Orçunus,
16
     introducing himself as a member of the “re3 team,” posted a thread to the U.S.-based social media
17

18   platform Reddit, titled “GTA III and Vice City fully reverse engineered, with ports to many

19   platforms,” that also linked to the re3 GitHub Repositories. 4 Within days, Defendant Papenhoff,
20
     a/k/a “aap,” offered detailed statements to Eurogamer, a UK-based games journalism website,
21
     explaining exactly how he and other project members had reworked the GTA3and Vice City code
22
     to create games for the PC and Switch that look almost identical to the originalgames, with the
23

24

25

26                      2
                          See https://twitter.com/Ash_735/status/1360664655904059398;
     https://twitter.com/Ash_735/status/1360665006224912384
27                      3
                          See https://twitter.com/Ash_735/status/1361032557282828289.
                        4
                          See https://www reddit.com/r/GTA/comments/lj4x1n/gta_iii_and_vice_city_fully_reverse_
28   engineered/.
     ANSWER AND AFFIRMATIVE DEFENSES - 13
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 14 of 29



1    admitted goal of providing an “open source GTA.” See https://www.eurogamer.net/articles/2021-
2
     02-17-how-a-small-group-of-gta-fanatics-reverse-        engineered-gta-3-and-vice-city-without-so-
3
     far-getting-shut-down-by-take-two.
4
            ANSWER: Defendants admit the articles and posts referenced in this paragraph exists and
5

6    that they speak for theirselves. Insofar as an allegation is not specifically and expressly contained

7    within those articles and posts, any characterization by Plaintiff is denied. All other allegations
8
     contained within this compound paragraph are denied.
9
             1.      28.    Papenhoff has admitted that the source code developed via the re3 and
10
      reVC projects is not original, but rather is (and was intended to be) a copy of the original. In
11
      fact, Defendants have bragged that their derivative source code was created by working
12
      backwards from Take-Two’s final “machine” code to re-create the human-readable code in
13
      which GTA wasprogrammed:
14

15
                     “GTA 3 and Vice City were originally written in [programming
16                   language] C++ . . . The compiled executables that are shipped are
                     in machine code. So the general task is to go from machine code
17                   back to C++. To go back to C++ is by no means a simple 1:1
18
                     mapping, but
                     over the last 10 or so years decompilers have appeared that help with
19                   thisprocess. So what we typically do is work with the output of the
                     decompiler and massage it back into readable C++.” Id.
20

21
                     ANSWER: Denied.

22   29.    Similarly, Defendant Morra has admitted that the result of Defendants’ efforts
23   is a pair of video games playable on PCs and the Nintendo Switch that look and
24
     function almost identically to the original Games, based on Defendants’ derivative
25
     code that is at minimum “functionally identical” to Take-Two’s copyrighted original
26

27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 14
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 15 of 29



1    code.5 In other words, Defendants slavishly recreated the original code to play the
2
     Games by “decompiling” the Games’ object (or “machine”) code and then working
3
     with that material to create a game experience that is identicalto the original Games.
4
             ANSWER: Defendants admit only that the article referenced exists and it
5

6    speaks for itself, without admitting the veracity or characterizations of any statements

7    in the article. As to any legal conclusions or assertions concerning the use of the term
8
     “derivative,” such conclusions or assertions are legal conclusions to which no
9
     response is required and to the extent a response is required it is denied. All other
10
     allegations are denied.
11

12   30.     Defendants have also been public about adding new “features” to the Games

13   that may be toggled on and off by users at will, including “new cheats” (which are
14
     strictly prohibited under Take-Two’s terms of service). 6 In essence, Defendants’
15
     derivative code creates unauthorized adaptations of the original Games while
16
     simultaneously allowing what Defendant Orçunus has bragged is “the accurate vanilla
17

18   GTA III/VC experi[e]nce to the extent we've been able to achieve.” Id. Defendants

19   (specifically Defendant Papenhoff) even outwardly promote the use of the re3 and
20
     reVC projects for further unauthorized “modding purposes,” encouraging users to
21
     further infringe the original Games and to violate their agreements with Take-Two
22

23

24

25

26
                      5
                        See https://torrentfreak.com/github-restores-reverse-engineered-gta-code-following-dmca-
27   counter-notice-210507/.
                      6
                        See https://www reddit.com/r/GTA/comments/lj4x1n/gta_iii_and_vice_city_fully_reverse_
28   engineered/.
     ANSWER AND AFFIRMATIVE DEFENSES - 15
              Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 16 of 29



1    that prohibit such activities.7
2
             ANSWER: Defendants deny encouraging users to infringe or to violate any
3
     agreements with Take-Two that prohibit infringement. The remaining allegations
4
     contained in this paragraph are denied.
5

6    31.     Defendants are well aware that their conduct is unlawful and infringes Take-

7    Two’scopyrights. In fact, articles in the gaming press specifically have questioned
8
     why the re3 and reVC projects have not been shut down by Take-Two. Papenhoff
9
     admitted that he was “very much worried about that and tried to stay under the radar
10
     for as long as possible,” knowing that assoon as Take-Two learned of the project legal
11

12   action would undoubtedly ensue.8

13           ANSWER: Denied.
14
     32.     Papenhoff also has admitted to currently creating infringing derivative source
15
     code for Take-Two’s copyrighted video game GTA-Liberty City Stories dubbed
16
     “reLCS,” described as“currently work in progress,” and that he plans to do the same
17

18   with GTA-Vice City Stories, described by him as “probably the holy grail of GTA

19   reversing right now.”9
20
             ANSWER: Defendants deny that any of the statements in this paragraph
21
     attributed to Defendant Papenhoff constitute admissions of creating infringing code.
22
     Any remaining allegations in this paragraph are denied.
23

24

25

26                    7
                        See, e.g., https://www.eurogamer.net/articles/2021-02-17-how-a-small-group-of-gta-fanatics-
     reverse-engineered-gta-3-and-vice-city-without-so-far-getting-shut-down-by-take-two.
27                    8
                        See id.
                      9
                        See id.; https://github.com/GTAmodding/re3. Take-Two owns valid registered copyrights in
28   these two games as well, including PA 1-347-154 and PA 1-355-501.
     ANSWER AND AFFIRMATIVE DEFENSES - 16
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 17 of 29



1    33.    On or about February 19, 2021, Take-Two submitted a “takedown” notice to
2
     GitHub pursuant to the Digital Millennium Copyright Act, 17 U.S.C. § 512, that
3
     requested the disabling and/or removal of the re3 GitHub Repositories. In at least three
4
     separate instances between April and June of 2021, Defendants Orçunus, Morra, and
5

6    Graber submitted sworn counter notifications to GitHub claiming the takedown of the

7    repositories was mistaken or otherwise not legitimate. Take-Two is informed and
8
     believes, and on that basis alleges, that thesecounter notifications were made in bad
9
     faith, and knowingly and deliberately misrepresented to GitHub the contents of the
10
     re3 GitHub Repositories. After GitHub received the counter notifications, the re3
11

12   GitHub Repositories were restored to public accessibility.

13          ANSWER: Defendants are without sufficient information to admit or deny
14
     Take-Two’s supposed actions alleged in this compound paragraph. Defendants further
15
     object that this compound paragraph intermingles alleged instances of actions by
16
     Defendants without identifying which Defendant took which actions, and therefore
17

18   they cannot respond. Accordingly, they deny the allegations. Defendants deny any

19   allegations of misrepresentation, acting knowingly, or bad faith. Insofar as the use of
20
     the terms “misrepresentation,” “knowingly,” and “bad faith” are used as legally
21
     significant terms, they are legal conclusions to which no response is required and are
22
     denied. Defendants admit only that GitHub, at some point, elected to restore
23

24   accessibility to repositories, denying all other allegations.

25   34.    Upon information and belief, the counter notification signed by Defendant
26
     Orçunus was in fact submitted on behalf of the entire re3 “team,” with active
27
     participation and direction from Defendants Papenhoff and Ash R., who sought out
28
     ANSWER AND AFFIRMATIVE DEFENSES - 17
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 18 of 29



1    legal advice from individuals in the United States concerning a counter notification
2
     while strategizing on the group’s Discord channel.On Discord, Defendants Papenhoff
3
     and Ash R. summarized and explained these legal discussions and gave periodic
4
     updates on the group’s decision making. For example, Defendant Papenhoff posted to
5

6    Discord on June 2, 2021, “we will send a counter notice soon,” on June 6, 2021, that

7    the “counter has been sent,” and then on June 24, 2021, the day the re3 GitHub
8
     Repositories were restored: “they either sue us or something or they don’t.” That same
9
     day, Defendant Ash R. posted: “even now it’s still a case of WHEN and not IF Take-
10
     Two try and strike back.”
11

12          ANSWER:        Denied.

13   35.    By their conduct, Defendants have caused and continue to cause irreparable
14
     harm to Take-Two. Specifically, by creating and distributing re3 and reVC,
15
     Defendants have appropriated for their own benefit Take-Two’s immensely valuable
16
     intellectual property. Moreover, by creating derivative code and console “ports” of the
17

18   Games, Defendants have soughtto exploit a potential market that belongs exclusively

19   to Take-Two. And, because Defendants have distributed their infringing source code
20
     for free over the Internet, it has been copied and re- distributed countless times.
21
     Defendants’ conduct has resulted in damage to Take-Two in an amount to be proven
22
     at trial. Unless and until Defendants are preliminarily or permanently enjoined, Take-
23

24   Two will continue to suffer severe harm.

25          ANSWER: Denied.
26

27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 18
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 19 of 29



1                                             CLAIM I
2
                                    (Against All Defendants)
3
                               COPYRIGHT INFRINGEMENT
4
     36.    Take-Two realleges and incorporates by reference the allegations in
5

6    paragraphs 1through 35, as if set forth fully herein.

7           ANSWER: Defendants adopt and incorporate their responses to paragraphs 1-
8
     35 above as if fully set forth herein.
9
     37.    Take-Two is the owner of valid and enforceable registered copyrights in the
10
     Games. By virtue of such copyrights, Take-Two possesses the exclusive rights to
11

12   reproduce,publicly perform, distribute, publicly display, and adapt the Games, and

13   Take-Two’s other copyrighted video games.
14
            ANSWER:         Defendants do not possess sufficient information to admit or
15
     deny the allegations contained in this paragraph and on that basis they are denied.
16
     38.    By copying, adapting, and distributing source code and other content related
17

18   to theGames, Defendants have deliberately and intentionally infringed Take-Two’s

19   protectable expression. Take-Two has never authorized or given consent to
20
     Defendants to use their copyrighted works in the manner complained of herein.
21
     Accordingly, Defendants have infringedTake-Two’s exclusive rights under copyright,
22
     pursuant to 17 U.S.C. § 501 et seq.
23

24          ANSWER: Denied.

25   39.    Defendants’ acts of infringement are willful and malicious.
26
            ANSWER: Denied.
27
     40.    As a direct and proximate result of the infringements alleged herein, Take-Two
28
     ANSWER AND AFFIRMATIVE DEFENSES - 19
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 20 of 29



1    is entitled to damages in amounts to be proven at trial, which are not currently
2
     ascertainable. Alternatively, Take-Two is entitled to maximum statutory damages of
3
     $150,000 for each work infringed, or in such other amount as may be proper under 17
4
     U.S.C. § 504(c).
5

6            ANSWER: Denied.

7    41.     Take-Two further is entitled to its attorneys’ fees and full costs pursuant to17
8
     U.S.C. § 505.
9
             ANSWER: Denied.
10
     42.     As a result of Defendants’ acts and conduct, Take-Two has sustained and will
11

12   continue to sustain, substantial, immediate, and irreparable injury for which there is

13   no adequate remedy at law. Take-Two is informed and believes, and on that basis
14
     alleges, that unless enjoined and restrained by this Court, Defendants will continue to
15
     infringe Take-Two’s rights in the Games. Take-Two is entitled to temporary,
16
     preliminary, and permanent injunctive relief to restrain and enjoin Defendants’
17

18   continuing infringing conduct.

19           ANSWER: Denied.
20
                                              CLAIM II
21
                     (Against Defendants Orçunus, Morra, and Graber)
22
                                VIOLATION OF U.S.C. § 512(f)
23

24   43.     Take-Two realleges and incorporates by reference the allegations in

25   paragraphs 1through 42, as if set forth fully herein.
26
             ANSWER: Defendants adopt and incorporate their responses to paragraphs 1-
27
     42 above is if fully set forth herein.
28
     ANSWER AND AFFIRMATIVE DEFENSES - 20
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 21 of 29



1    44.    On or about February 19, 2021, Take-Two submitted a statutorily compliant
2
     DMCA notice and takedown to GitHub for, among others, the software repository
3
     located at https://github.com/GTAmodding/re3. On or shortly after that date, GitHub
4
     removed and disabled the materials available at that location from its site pursuant to
5

6    17 U.S.C. § 512. On or about June 6, 2021, Defendant Orçunus submitted to GitHub

7    a Section 512(g)(2)(b) counter notice, stating, under penalty of perjury, that the
8
     repository available at https://github.com/GTAmodding/re3 was removed and
9
     disabled by GitHub by mistake because “[t]he code in this repo was developed by
10
     reverse engineering object code that is not contained in this repo. We believe that any
11

12   code in this repo that is similar to code or other content owned by Take-Two is either

13   unprotected by copyrightor is permitted under fair use.” Upon information and belief,
14
     this counter notification referred to “We” because it was submitted in consultation
15
     with, and under the direction of, other developers and leaders on the re3 and reVC
16
     projects, including Defendants Papenhoff and Ash R., on whose behalf it was in part
17

18   submitted.

19          ANSWER: Defendants admit that on or about June 6, 2021 Defendant Orçunus
20
     submitted a counter notice. The language contained in that counter notice speaks for
21
     itself. Defendants admit that the notice included language asserting that any code
22
     involved was either unprotected by copyright or fair use. Defendants deny the
23

24   remaining allegations contained in this paragraph.

25   45.    On or about February 19, 2021, Take-Two submitted a statutorily compliant
26
     DMCA notice and takedown to GitHub for, among others, the software repository
27
     located at https://github.com/td512/re3. On or shortly after that date, GitHub removed
28
     ANSWER AND AFFIRMATIVE DEFENSES - 21
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 22 of 29



1    and disabled the materials available at that location from its site pursuant to 17 U.S.C.
2
     § 512. On or about April 8, 2021, Defendant Morra sent to GitHub a Section
3
     512(g)(2)(b) counter notice, stating, under penalty of perjury, that the repository
4
     available at https://github.com/td512/re3 was removed and disabled by GitHub “as a
5

6    result of a mistake or misidentification of the material to be removed ordisabled.”

7           ANSWER: Defendants admit that on or about April 8, 2021, Defendant Morra
8
     submitted a counter notice. The language of the counter notice submitted speaks for
9
     itself. Defendants admit that Take-Two issued a DMCA and takedown notice to
10
     GitHub. The remaining allegations contained in this paragraph are denied.
11

12   46.    On or about February 19, 2021, Take-Two submitted a statutorily compliant

13   DMCA notice and takedown to GitHub for, among others, the software repository
14
     located at https://github.com/AGraber/re3-nx. On or shortly after that date, GitHub
15
     removed and disabled the materials available at that location from its site pursuant to
16
     17 U.S.C. § 512. On or about May 13, 2021, Defendant Graber sent to GitHub a
17

18   Section 512(g)(2)(b) counter notice, stating, under penalty of perjury, that the

19   repository available at https://github.com/AGraber/re3-nx was removedand disabled
20
     by GitHub “as a result of a mistake or misidentification of the material to be removed
21
     or disabled.”
22
            ANSWER: Defendants admit that on or about May 13, 2021 Defendant Graber
23

24   issued a counter notice. The language of that counter notice speaks for itself.

25   Defendants admit that Take-Two issued a DMCA notice and takedown to GitHub.
26
     The remaining allegations contained in this paragraph are denied.
27
     47.    At the time Defendants Orçunus, Morra, and Graber sent their counter notices,
28
     ANSWER AND AFFIRMATIVE DEFENSES - 22
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 23 of 29



1    theymaterially misrepresented that their respective counter notices were “removed or
2
     disabled by mistake or misidentification.” To the contrary, Defendant Orçunus’s,
3
     Morra’s, and Graber’s counter notices were submitted to GitHub in bad faith, each
4
     defendant knowing that the repositories listed in their respective counter notices
5

6    contained derivative source code and originalsource code that infringe Take-Two’s

7    copyrights.
8
            ANSWER: Denied.
9
     48.    GitHub relied upon Defendants Orçunus’s, Morra’s, and Graber’s
10
     misrepresentations contained in their respective counter notices, and based upon those
11

12   misrepresentations, GitHub reinstated on its website the repositories identified in the

13   counter notices. As a result of such reinstatement, Take-Two has suffered and
14
     continues to suffer damages, including damages caused by the further distribution of
15
     the re3 and reVC code and thecosts and attorneys’ fees it incurred in addressing the
16
     false counter notices.
17

18          ANSWER: Denied.

19   49.    Accordingly, Defendant Orçunus, Morra, and Graber are liable for damages,
20
     including costs and attorneys’ fees, incurred by Take-Two.
21
            ANSWER: Denied.
22
                                   PRAYER FOR RELIEF
23

24
             WHEREFORE, Take-Two prays that this Court enter judgment in its favor and
25
      award itrelief, including but not limited to an order:
26
      1.    Preliminarily and permanently enjoining Defendants, their officers,
27
     employees, agents, subsidiaries, representatives, distributors, dealers, members,
28
     ANSWER AND AFFIRMATIVE DEFENSES - 23
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 24 of 29



1    affiliates, and all persons or entities acting in concert or participation with Defendants
2
     from manufacturing, producing, distributing, adapting, displaying, advertising,
3
     promoting, posting on the Internet, maintaining on the Internet, offering for sale or
4
     selling, or performing any materials that are substantially similarto the Games and to
5

6    GTA-Liberty City Stories and GTA-Vice City Stories, and removing all infringing

7    source code and games from the internet.
8
            ANSWER: Defendants deny that Plaintiff is entitled to any of the relief sought
9
     in this paragraph. Defendants deny Plaintiff’s claims of infringement.
10
      2.    Requiring Defendants to deliver to Take-Two all copies of materials that
11

12   infringe or violate any of Take-Two’s rights described herein, including without

13   limitation all copies of the modified Games and the derivative source code for the
14
     Games, and any modified versions or derivative source code for GTA-Liberty City
15
     Stories and GTA-Vice City Stories.
16
            ANSWER: Defendants deny that Plaintiff is entitled to any of the relief sought
17

18   in this paragraph. Defendants deny Plaintiff’s claims of infringement.

19    3.    Requiring Defendants to provide Take-Two with an accounting of any and all
20
     salesor downloads of products or services that infringe or violate any of Take-Two’s
21
     rights, as described herein.
22
            ANSWER: Defendants deny that Plaintiff is entitled to any of the relief sought
23

24   in this paragraph. Defendants deny Plaintiff’s claims of infringement.

25    4.    Awarding Take-Two actual or statutory damages for copyright infringement
26
     andunder 17 U.S.C. §§ 504 & 512, as appropriate.
27
            ANSWER: Defendants deny that Plaintiff is entitled to any of the relief sought
28
     ANSWER AND AFFIRMATIVE DEFENSES - 24
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 25 of 29



1    in this paragraph. Defendants deny Plaintiff’s claims of infringement.
2
      5.     Awarding Take-Two its full costs and attorneys’ fees in this action.
3
             ANSWER: Defendants deny that Plaintiff is entitled to any of the relief sought
4
     in this paragraph. Defendants deny Plaintiff’s claims of infringement.
5

6     6.     Imposing a constructive trust over any proceeds unjustly obtained by

7    Defendants inthe United States, and/or any other products or services that violate any
8
     of Take-Two’s rights described herein.
9
             ANSWER: Defendants deny that Plaintiff is entitled to any of the relief sought
10
     in this paragraph. Defendants deny Plaintiff’s claims of infringement.
11

12    7.     Awarding such other and further relief as this Court may deem just and

13   appropriate.
14
             ANSWER: Defendants deny that Plaintiff is entitled to any of the relief sought
15
     in this paragraph. Defendants deny Plaintiff’s claims of infringement.
16

17           WHEREFORE, Defendants deny that Plaintiff is entitled to any of the relief sought in its
18
     prayer for relief. Defendants respectfully request that the Court enter judgement in their favor and
19
     against Plaintiff, denying Plaintiff all relief sought herein.
20

21

22                                      AFFIRMATIVE DEFENSES
23
                                      FIRST AFFIRMATIVE DEFENSE
24                                             FAIR USE

25

26
     1.      Any complained of actions taken by the Defendants constituted fair use under

27   the Copyright Act.

28   2.      Any complained of copying of copyright protected material that did occur, if
     ANSWER AND AFFIRMATIVE DEFENSES - 25
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 26 of 29



1    any, was undertaken to allow for interoperability of software and fixing “bugs.”
2
     3.     Such actions, comprising reverse engineering, are a transformative use.
3
     4.     Any complained of copying of copyright protected material that did occur, if
4
     any, was absolutely necessary to allow for the interoperability of software.
5

6    5.     Any complained of copying of copyright protected material that did occur, if

7    any, was of, at least in part, materials that were minimally creative, nearly functional
8
     or factual, or completely functional or factual.
9
     6.     Put another way, any complained of copying of copyright protected material
10
     that did occur, if any, was kept to a minimally required amount.
11

12   7.     The complained of software that was copied was for video games released over

13   fifteen years ago.
14
     8.     Upon information and belief, Plaintiff ceased releasing updates to the
15
     complained of software, often called “patches” or “bug-fixes” years before any
16
     complained of actions of Defendants.
17

18   9.     For a third-party to make use of the software developed by Defendants, the

19   third-party must have a copy of the complained of software, i.e. the games Grand Theft
20
     Auto III and Grand Theft Auto Vice City.
21
     10.    Upon information and belief, Plaintiff ceased making Grand Theft Auto III and
22
     Grand Theft Auto Vice City, as it was released and copyright materials registered,
23

24   available for purchase on its online stores.

25   11.    Upon information and belief, any complained of copying of copyright
26
     protected material that did occur, if any, did not affect the market for the complained
27
     of software.
28
     ANSWER AND AFFIRMATIVE DEFENSES - 26
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 27 of 29



1    12.    Upon information and belief, any complained of copying of copyright
2
     protected material that did occur, if any, would positively affect the market for the
3
     complained of software.
4
     13.    Any complained of copying of copyright protected material that did occur, if
5

6    any, was not undertaken for profit or commercial purposes.

7    14.    The doctrine of fair use bars the relief sought by Plaintiff.
8
                             SECOND AFFIRMATIVE DEFENSE
9                                  FUNCTIONALITY

10   15.    Insofar as the Complaint alleges the copying or distribution of copyright
11
     protected materials which are functional or factual, those materials are not entitled to
12
     protection under the Copyright Act and the claims should be barred.
13
                             THIRD AFFIRMATIVE DEFENSE
14
                           IMPLIED LICENSE / ABANDONMENT
15
     16.    Upon information and belief, Plaintiff has allowed others to undertake the
16
     development of “mods” of its software, including the complained of software, by
17

18   third-parties without any adverse action by Plaintiff.

19   17.    Upon information and belief, Plaintiff has encouraged and supported others
20
     undertaking the development of “mods” of its software, including the complained of
21
     software, by third-parties.
22
     18.    Upon information and belief, Plaintiff, or its subsidiaries or predecessors in
23

24   interest, have showcased “mods” of its software, including the complained of

25   software, by third-parties.
26
     19.    Upon information and belief, Plaintiff, or its subsidiaries or predecessors in
27
     interest, released portions of its software to the developers of “MTA,” Multi Theft
28
     ANSWER AND AFFIRMATIVE DEFENSES - 27
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 28 of 29



1    Auto, a “mod” project.
2
     20.    These supported, encouraged, or allowed “mod” projects, upon information
3
     and belief, required the reverse engineering of software just as Defendants are alleged
4
     to have undertaken.
5

6    21.    Upon information and belief, Defendants had an implied license to undertake

7    any complained of actions or Plaintiff abandoned is copyright.
8
                         THIRD AFFIRMATIVE DEFENSE
9                  EXTRATERRITORIAL APPLICATION OF U.S. LAW

10   22.    The Complaint alleges copying of copyright protected material which, to the
11
     extent it occurred, was undertaken outside the United States.
12
      23.   The United States Copyright Act should not be applied outside the United
13
     States and its territories.To the extent Plaintiff seeks to extend the application of the
14

15   United States Copyright Act to cover activities outside the United States, its claims

16   should be barred.
17
                    DATED: November 12, 2021
18
                                                   Respectfully submitted,
19
                                                   /s/ Erin K. Russell
20                                                 The Russell Firm, LLC
                                                   833 W. Chicago Avenue, Suite 508
21
                                                   Chicago, IL 60642
22                                                 T: 312-994-2424
                                                   erin@russellfirmip.com
23
                                                   Jonathan LA Phillips
24
                                                   Phillips & Bathke, P.C.
25                                                 4541 North Prospect Road, Suite 300A
                                                   Peoria Heights, Illinois 61616
26                                                 T: 309-598-2028
                                                   jlap@pb-iplaw.com
27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 28
             Case 3:21-cv-06831-TSH Document 24 Filed 11/12/21 Page 29 of 29



1                                                 Attorneys for Defendants Angelo Papenhoff, Theo
                                                  Morra, Eray Orçunus, and Adrian Graber
2

3

4                                    CERTIFICATE OF SERVICE
5
        This is to certify that on November 12, 2021, a copy of the foregoing was filed via the
6    Court’s ECF filing system, thereby serving it upon all counsel of record.

7                                                 /s/ Erin K. Russell
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     ANSWER AND AFFIRMATIVE DEFENSES - 29
